
YELVERTON, Judge.
Combined Investments, Ltd., intervenor in the captioned case, appeals the denial of its rule for additional security under C.C.P. art. 3610. The plaintiffs answered the appeal and also filed a motion to dismiss it on the ground that the judgment appealed from is interlocutory and does not cause the appellant irreparable injury. Meanwhile, the preliminary injunction for which the appellant desired the additional security, was reversed by our state Supreme Court and that judgment has become final.
Plaintiffs are limited partners in the Combined Investments, Ltd. partnership. Five cases have been consolidated as the issues involved are the same though the defendant banks differ. The plaintiffs sued for a preliminary injunction to prevent payment of drafts under letters of credit. The preliminary injunction was granted by the trial court, but it was reversed by this court at 450 So.2d 1 (La.App. 3rd Cir.1984), which reversal was affirmed by the Supreme Court at 464 So.2d 721 (La.1985). While the case was pending in the Supreme Court, the intervenor filed a rule requesting additional security pursuant to C.C.P. art. 3610. The rule was denied below and the intervenor’s devolutive appeal from that judgment is now before us. Because the judgment of the Supreme Court reversing the grant of the preliminary injunction has become final, the issues presented by the present appeal have become moot. See Trinidad Petroleum Corp. v. Pioneer Natural Gas Company, 416 So.2d 310 (La.App. 3rd Cir.1982).
DISMISSED AS MOOT.
